
684 S.E.2d 38 (2009)
363 N.C. 588
STATE of North Carolina
v.
Danny Eugene TOMLINSON.
No. 310P09.
Supreme Court of North Carolina.
August 27, 2009.
Danny E. Tomlinson, Pro Se.
W. Wallace Finlator, Assistant Attorney General, for State.


*39 ORDER

Upon consideration of the petition filed on the 30th of July 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th of August 2009."
